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                                 UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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     BANK OF AMERICA, N.A.,                    )
 9                                             )
                       Plaintiff,              )                 Case No. 2:16-cv-01451-KJD-CWH
10                                             )
     vs.                                       )                 ORDER
11                                             )
     WESTTROP ASSOCIATION, et al.,             )
12                                             )
                       Defendants.             )
13   __________________________________________)
14          Presently before the court is the law firm of Maier Gutierrez & Associates’ motion to
15   withdraw as attorneys of record and removal from CM/ECF service list (ECF No. 31), filed on June
16   20, 2017. In support of the motion, attorney Steven G. Knauss submits a declaration stating that
17   Defendant T-Shack, Inc. terminated the firm’s representation and requested that the case file be
18   transferred to Luis A. Ayon of Ayon Law PLLC. (Id. at 2.) After the motion to withdraw was
19   filed, Mr. Ayon filed a notice of appearance on behalf of T-Shack, Inc. (Notice of Appearance
20   (ECF No. 32).) Given that T-Shack, Inc. is represented by Mr. Ayon, the court will grant the
21   motion.
22          IT IS SO ORDERED.
23
24          DATED: June 27, 2017
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                                                  ______________________________________
26                                                C.W. Hoffman, Jr.
                                                  United States Magistrate Judge
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